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 4

 5   Attorney for Defendant,
     John Derek Gitmed
 6

 7
                            IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                      ) Case No.: 1:14-cr-00189-AWI-BAM
11                                                  )
                         Plaintiff,                 ) STIPULATION AN ORDER TO
12                                                  ) CONTINUE SENTENCING HEARING
     vs.                                            )
13                                                  ) Date: November 30, 2015
     JOHN DEREK GITMED                              ) Time: 10:00 a.m.
14                                                  )
                        Defendant.                  ) Judge: Hon. Anthony W. Ishii
15                                                  )
16
     TO: BENJAMIN B. WAGNER, UNITED STATES ATTORNEY, AND MICHAEL
17
     TIERNEY, ASSISTANT UNITED STATES ATTORNEY, COUNSEL FOR
18   PLAINTIFF:

19            IT IS HEREBY STIPULATED by and between the parties hereto, and through their
20   respective attorneys of record, that the Sentencing hearing in the above captioned matter now set
21   for November 30, 2015 at 10:00 am, be continued to December 7, 2015 at 10:00 a.m. The

22   continuance is requested by counsel for Defendant, John Derek Gitmed, Attorney Michael W.
     Berdinella, Counsel for Mr. Gitmed will need additional time to adequately prepare informal and
23
     formal objections for the Sentencing Hearing. Counsel agrees to exclude time until December 7,
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     2015.
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 1          DATED: November 4, 2015
 2                                              Respectfully submitted,

 3
                                                /s/ Michael W. Berdinella
 4                                              Michael W. Berdinella
                                                Attorney for Defendant
 5
                                                John Derek Gitmed
 6          DATED: November 4, 2015
                                                /s/Michael    G. Tierney___
 7
                                                Michael G. Tierney
 8                                              Assistant United States Attorney
 9

10
                                               ORDER
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12          The Sentencing hearing as to the above defendant currently set for November 30, 2015, is
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     continued to December 7, 2015 at 10:00 a.m. in Courtroom 2 before Senior District Judge
14
     Anthony W. Ishii.
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17   IT IS SO ORDERED.

18   Dated: November 9, 2015
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                                               SENIOR DISTRICT JUDGE

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